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 9   telia@telialaw.com
     Attorney for Terrance McNichols
10
11                               UNITED STATES DISTRICT COURT

12                                     DISTRICT OF NEVADA

13
     UNITED STATES OF AMERICA,                          Case No.: 2:07-cr-00130-RCJ-VCF
14
                    Plaintiff,                          STIPULATION TO CONTINUE
15                                                      HEARING REGARDING
            v.                                          REVOCATION OF SUPERVISED
16
                                                        RELEASE
17   TERRANCE MCNICHOLS,                                (First Request)
                    Defendant.
18
19
            IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
20
     Trutanich, United States Attorney, and Stephanie Ihler, Assistant United States Attorney,
21
     counsel for the United States of America, and Telia Mary U. Williams, counsel for Terrance
22
     McNichols, that the hearing regarding revocation of supervised release, currently scheduled for
23
     November 17, 2020 at 1:00 pm, be vacated and set to a date and time convenient to this Court,
24
     but no sooner than thirty (30) days. The parties are amenable to a date and time of
25
     December 15, 2020 at 2:30pm for the hearing.
26
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 1            The Stipulation is entered into for the following reasons:
 2            1.     Counsel for the defendant is looking to have out-of-state witnesses for the
 3   defendant’s probation revocation hearing, who will need additional time to travel to Las Vegas,
 4   Nevada, for the hearing, making the November 17, 2020, less feasible;
 5            2.     Counsel for the defendant would also like additional time in which to retain a
 6   psychiatrist to evaluate the defendant in preparation for defense at the hearing, and to secure
 7   the defendant’s ability to assist in his own defense at the hearing;
 8            3.     The defendant is in custody, but does not object to the continuance.
 9            4.     The Government does not object to the continuance.
10            5.     The United States Probation Officer assigned to this matter, Matthew Martinez,
11   does not object to the continuance.
12            6.     The additional time requested herein is not sought for purposes of delay, but to
13   allow defendant sufficient time within which to prepare for the hearing.
14            7.     Denial of this request for continuance could result in a miscarriage of justice.
15   The additional time requested by this Stipulation is excludable in computing the time within
16   which the hearing herein must commence pursuant to the Speedy Trial Act, Title 18, United
17   States Code, Section 3161(h)(7)(A), considering the factors under Title 18, United States Code,
18   Section 3161(h)(7)(B)(i), (iv).
19            8.     The parties are amenable to a date and time of December 15, 2020 at 2:30pm for
20   the rescheduled hearing.
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
                                                       2
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 1        This is the first stipulation to continue filed herein.
 2        DATED this 3rd day of November, 2020.
 3
 4   LAW OFFICE OF TELIA U. WILLIAMS                  NICHOLAS TRUTANICH
                                                      United States Attorney
 5
 6     /s/ Telia Mary U. Williams                       /s/ Stephanie Ihler
     By_____________________________                  By_____________________________
 7   TELIA MARY U. WILLIAMS                           STEPHANIE IHLER
     Counsel for Terrance McNichols                   Assistant United States Attorney
 8
 9
                                                      By /s/ Matthew Martinez
10                                                    MATTHEW MARTINEZ
                                                      United States Probation Officer
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 1                               UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                            Case No. 2:07-cr-00130-RCJ-VCF
 4
                    Plaintiff,                            FINDINGS OF FACT, CONCLUSIONS
 5                                                        OF LAW AND ORDER
            v.
 6
 7   TERRANCE MCNICHOLS,

 8                  Defendant.

 9
10                                       FINDINGS OF FACT
11          Based on the pending Stipulation of counsel, and good cause appearing therefore, the
12   Court finds that:
13          1.      Counsel for the defendant is looking to have out-of-state witnesses for the
14   defendant’s probation revocation hearing, who will need additional time to travel to Las Vegas,
15   Nevada, for the hearing, making the November 17, 2020, less feasible;
16          2.      Counsel for the defendant would also like additional time in which to retain a
17   psychiatrist to evaluate the defendant in preparation for defense at the hearing, and to secure
18   the defendant’s ability to assist in his own defense at the hearing;
19          3.      The defendant is in custody, but does not object to the continuance.
20          4.      The parties agree to the continuance, as does the United States Probation Officer
21   assigned to this matter;
22          5.      The additional time requested herein is not sought for purposes of delay, but to
23   allow the defendant sufficient time within which to prepare for the hearing.
24          6.      Additionally, denial of this request for continuance could result in a miscarriage
25   of justice. The additional time requested by this Stipulation is excludable in computing the time
26   within which the hearing herein must commence pursuant to the Speedy Trial Act, Title 18,
                                                4
        Case 2:07-cr-00130-RCJ-VCF Document 148 Filed 11/05/20 Page 5 of 5




 1   United States Code, Section 3161(h)(7)(A), considering the factors under Title 18, United
 2   States Code, Section 3161(h)(7)(B)(i), (iv).
 3          7.      The parties are amenable to a date and time of December 15, 2020 at 2:30pm for
 4   the rescheduled hearing.
 5                                    CONCLUSIONS OF LAW

 6          The ends of justice served by granting said continuance outweigh the best interest of the
 7   public and the defendant in a speedy hearing, since the failure to grant said continuance would
 8   be likely to result in a miscarriage of justice, would deny the defendant herein sufficient time
 9   and the opportunity within which to be able to effectively and thoroughly prepare for the
10   hearing, taking into account the exercise of due diligence.
11          The continuance sought herein is excludable under the Speedy Trial Act, Title 18,
12   United States Code, Section § 3161 (h)(7)(A), when the considering the factors under Title 18,
13   United States Code, § 3161(h)(7)(B)(i), (iv).
14                                               ORDER

15          IT IS THEREFORE ORDERED that the hearing regarding revocation of supervised
16   release currently scheduled for November 17, 2020, at the hour of 1:00pm, be vacated and
17                  Tuesday, 12/15/2020atatthe
     continued to _________________         2:30 p.m.ofbefore
                                               hour           Judge
                                                        ___:___     Robert C. Jones.
                                                                 __.m.
18
19          DATED this 5th day of November, 2020.
                                              20.
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21                                                   UNITED
                                                     UN
                                                      NITED STAT
                                                            STATES
                                                              A ES
                                                                 SDDISTRICT
                                                                    ISTRICT JUDGE

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